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 15    (signature block continued on next page)
 16
                                 UNITED STATES DISTRICT COURT
 17
                            CENTRAL DISTRICT OF CALIFORNIA
 18

 19    HONG LIU,                                  CASE NO. 2:20-cv-08035-SVW-JPR
 20                 Plaintiff,                    Honorable Stephen V. Wilson
 21          v.                                   (Discovery Matters Referred to Honorable
                                                  Jean P. Rosenbluth)
 22    FARADAY&FUTURE INC., SMART
       KING LTD., JIAWEI WANG, and
 23    CHAOYING DENG.                             ORDER GRANTING STIPULATED
                                                  PROTECTIVE ORDER
 24                 Defendants.
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       FARADAY&FUTURE INC.,
  1
                   Counterclaimant,
  2
             v.
  3
       HONG LIU,
  4
                   Counter-Defendant.
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  1
               Plaintiff Hong Liu and Defendants Faraday & Future Inc., Smart King Ltd.,
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       Jiawei Wang and Chaoying Deng filed a Stipulated Protective Order. Having
  3
       considered the Stipulation, and good cause appearing, IT IS HEREBY ORDERED
  4
       that:
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  6
       1.      INTRODUCTION
  7
               1.1   PURPOSES AND LIMITATIONS
  8
               Discovery in this action may involve production of confidential, proprietary,
  9
       or private information for which special protection from public disclosure and from
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       use for any purpose other than prosecuting this litigation may be warranted.
 11
       Accordingly, the Parties hereby stipulate to and petition the Court to enter the
 12
       following Stipulated Protective Order. The Parties acknowledge that this Order
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       does not confer blanket protections on all disclosures or responses to discovery and
 14
       that the protection it affords from public disclosure and use extends only to the
 15
       limited information or items that are entitled to confidential treatment under the
 16
       applicable legal principles. The Parties further acknowledge, as set forth in Section
 17
       12.3 below, that this Order does not entitle them to file Confidential Information
 18
       under seal; Civil Local Rule 79-5 sets forth the procedures that must be followed
 19
       and the standards that will be applied when a Party seeks permission from the Court
 20
       to file material under seal.
 21
               1.2   GOOD CAUSE STATEMENT
 22
               The parties enter into this Order for good cause. The subject matter of this
 23
       case may involve confidential employment agreements, confidential financial
 24
       records, and private corporate transactions. The Parties anticipate that discovery
 25
       may involve the production of confidential financial records, corporate documents,
 26
       and private medical records, the public disclosure of which could harm the Parties.
 27
       2.      DEFINITIONS
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  1           2.1    Action: This action, case number 2:20-cv-08035, pending in the United
  2    States District Court for the Central District of California.
  3           2.2    Challenging Party: a Party or Nonparty that challenges the designation
  4    of information or items under this Order.
  5           2.3    “CONFIDENTIAL” Information or Items: information (regardless of
  6    how it is generated, stored, or maintained) or tangible things that qualify for
  7    protection under Federal Rule of Civil Procedure 26(c) and as specified above in the
  8    Good Cause Statement.
  9           2.4    Counsel: Outside Counsel of Record and House Counsel (as well as
 10    their support staff).
 11           2.5    Designating Party: a Party or Nonparty that designates information or
 12    items that it produces in disclosures or in responses to discovery as
 13    “CONFIDENTIAL.”
 14           2.6    Disclosure or Discovery Material: all items or information, regardless
 15    of the medium or manner in which it is generated, stored, or maintained (including,
 16    among other things, testimony, transcripts, and tangible things), that are produced or
 17    generated in disclosures or responses to discovery in this matter.
 18           2.7    Expert: a person with specialized knowledge or experience in a matter
 19    pertinent to the litigation who has been retained by a Party or its counsel to serve as
 20    an expert witness or as a consultant in this action.
 21           2.8    House Counsel: attorneys who are employees of a Party to this Action.
 22    House Counsel does not include Outside Counsel of Record or any other outside
 23    counsel.
 24           2.9    Nonparty: any natural person, partnership, corporation, association, or
 25    other legal entity not named as a Party to this action.
 26           2.10 Outside Counsel of Record: attorneys who are not employees of a
 27    Party to this Action but are retained to represent or advise a Party and have appeared
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  1    in this Action on behalf of that Party or are affiliated with a law firm that has
  2    appeared on behalf of that Party, including support staff.
  3          2.11 Party: any Party to this Action, including all of its officers, directors,
  4    employees, consultants, retained experts, and Outside Counsel of Record (and their
  5    support staffs).
  6          2.12 Producing Party: a Party or Nonparty that produces Disclosure or
  7    Discovery Material in this Action.
  8          2.13 Professional Vendors: persons or entities that provide litigation
  9    support services (for example, photocopying, videotaping, translating, preparing
 10    exhibits or demonstrations, and organizing, storing, or retrieving data in any form or
 11    medium) and their employees and subcontractors.
 12          2.14 Protected Material: any Disclosure or Discovery Material that is
 13    designated as “CONFIDENTIAL.”
 14          2.15 Receiving Party: a Party that receives Disclosure or Discovery
 15    Material from a Producing Party.
 16    3.    SCOPE
 17          The protections conferred by this Stipulation and Order cover not only
 18    Protected Material (as defined above) but also any information copied or extracted
 19    from Protected Material; all copies, excerpts, summaries, or compilations of
 20    Protected Material; and any testimony, conversations, or presentations by Parties or
 21    their Counsel that might reveal Protected Material.
 22          Any use of Protected Material at trial will be governed by the orders of the
 23    trial judge. This Order does not govern the use of Protected Material at trial.
 24    4.    DURATION
 25          Even after final disposition of this litigation, the confidentiality obligations
 26    imposed by this Order will remain in effect until a Designating Party agrees
 27    otherwise in writing or a court order otherwise directs. Final disposition is the later
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  1    of (1) dismissal of all claims and defenses in this Action, with or without prejudice,
  2    or (2) final judgment after the completion and exhaustion of all appeals, rehearings,
  3    remands, trials, or reviews of this Action, including the time limits for filing any
  4    motions or applications for extension of time under applicable law.
  5    5.    DESIGNATING PROTECTED MATERIAL
  6          5.1      Each Party or Nonparty that designates information or items for
  7    protection under this Order must take care to limit any such designation to specific
  8    material that qualifies under the appropriate standards. The Designating Party must
  9    designate for protection only those parts of material, documents, items, or oral or
 10    written communications that qualify so that other portions of the material,
 11    documents, items, or communications for which protection is not warranted are not
 12    swept unjustifiably within the ambit of this Order.
 13          Mass, indiscriminate, or routinized designations are prohibited. Designations
 14    that are shown to be clearly unjustified or that have been made for an improper
 15    purpose (for example, to unnecessarily encumber the case-development process or
 16    to impose unnecessary expenses and burdens on other parties) may expose the
 17    Designating Party to sanctions.
 18          If it comes to a Designating Party’s attention that information or items it
 19    designated for protection do not qualify for that level of protection, that Designating
 20    Party must promptly notify all other Parties that it is withdrawing the inapplicable
 21    designation.
 22          5.2      Except as otherwise provided in this Order, Disclosure or Discovery
 23    Material that qualifies for protection under this Order must be clearly so designated
 24    before the material is disclosed or produced.
 25          Designation in conformity with this Order requires the following:
 26          (a) for information in documentary form (for example, paper or electronic
 27    documents but excluding transcripts of depositions or other pretrial or trial
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  1    proceedings), the Producing Party must affix at a minimum the legend
  2    “CONFIDENTIAL” to each page that contains Protected Material. If only a portion
  3    or portions of the material on a page qualify for protection, the Producing Party
  4    must clearly identify the protected portion(s) (for example, by making appropriate
  5    markings in the margins).
  6                  A Party or Nonparty that makes original documents available for
  7    inspection need not designate them for protection until after the inspecting Party has
  8    indicated which documents it would like copied and produced. During the
  9    inspection and before the designation, all material made available for inspection
 10    must be treated as “CONFIDENTIAL.” After the inspecting Party has identified the
 11    documents it wants copied and produced, the Producing Party must determine which
 12    documents, or portions thereof, qualify for protection under this Order. Then,
 13    before producing the specified documents, the Producing Party must affix the
 14    “CONFIDENTIAL” legend to each page that contains Protected Material. If only a
 15    portion or portions of the material on a page qualify for protection, the Producing
 16    Party also must clearly identify the protected portion(s) (for example, by making
 17    appropriate markings in the margins).
 18          (b) for testimony given in depositions, the Designating Party must identify
 19    the Disclosure or Discovery Material that is protected on the record, before the close
 20    of the deposition.
 21          (c) for information produced in some form other than documentary and for
 22    any other tangible items, the Producing Party must affix in a prominent place on the
 23    exterior of the container or containers in which the information is stored the legend
 24    “CONFIDENTIAL.” If only a portion or portions of the information warrant
 25    protection, the Producing Party, to the extent practicable, must identify the protected
 26    portion(s).
 27    5.3   If timely corrected, an inadvertent failure to designate qualified information
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  1    or items does not, standing alone, waive the Designating Party’s right to secure
  2    protection under this Order for that material. On timely correction of a designation,
  3    the Receiving Party must make reasonable efforts to assure that the material is
  4    treated in accordance with the provisions of this Order.
  5    6.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
  6          6.1    Any Party or Nonparty may challenge a designation of confidentiality
  7    at any time consistent with the Court’s scheduling order.
  8          6.2    The Challenging Party must initiate the dispute-resolution process (and,
  9    if necessary, file a discovery motion) under Local Rule 37.
 10          6.3    The burden of persuasion in any such proceeding is on the Designating
 11    Party. Frivolous challenges, and those made for an improper purpose (for example,
 12    to harass or impose unnecessary expenses and burdens on other parties), may expose
 13    the Challenging Party to sanctions. Unless the Designating Party has waived or
 14    withdrawn the confidentiality designation, all parties must continue to afford the
 15    material in question the level of protection to which it is entitled under the
 16    Producing Party’s designation until the Court rules on the challenge.
 17    7.    ACCESS TO AND USE OF PROTECTED MATERIAL
 18          7.1    A Receiving Party may use Protected Material that is disclosed or
 19    produced by another Party or by a Nonparty in connection with this Action only for
 20    prosecuting, defending, or attempting to settle this Action. Such Protected Material
 21    may be disclosed only to the categories of people and under the conditions described
 22    in this Order. When the Action has been terminated, a Receiving Party must comply
 23    with the provisions of Section 13 below (FINAL DISPOSITION).
 24          Protected Material must be stored and maintained by a Receiving Party at a
 25    location and in a manner sufficiently secure to ensure that access is limited to the
 26    people authorized under this Order.
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   1         7.2      Unless otherwise ordered by the Court or permitted in writing by the
   2   Designating Party, a Receiving Party may disclose any information or item
   3   designated “CONFIDENTIAL” only to the following people:
   4               (a) the Receiving Party’s Outside Counsel of Record in this Action, as
   5   well as employees of that Outside Counsel of Record to whom it is reasonably
   6   necessary to disclose the information for this Action;
   7               (b) the officers, directors, and employees (including House Counsel) of
   8   the Receiving Party to whom disclosure is reasonably necessary for this Action;
   9               (c) Experts (as defined in this Order) of the Receiving Party to whom
  10   disclosure is reasonably necessary for this Action and who have signed the
  11   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  12               (d) the Court and its personnel;
  13               (e) court reporters and their staff;
  14               (f) professional jury or trial consultants, mock jurors, and Professional
  15   Vendors to whom disclosure is reasonably necessary for this Action and who have
  16   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  17               (g) the author or recipient of a document containing the information or a
  18   custodian or other person who otherwise possessed or knew the information;
  19               (h) during their depositions, witnesses and attorneys for witnesses to
  20   whom disclosure is reasonably necessary, provided that the deposing party requests
  21   that the witness sign the form attached as Exhibit A hereto and the witnesses will
  22   not be permitted to keep any confidential information unless they sign the form,
  23   unless otherwise agreed by the Designating Party or ordered by the Court. Pages of
  24   transcribed deposition testimony or exhibits to depositions that reveal Protected
  25   Material may be separately bound by the court reporter and may not be disclosed to
  26   anyone except as permitted under this Order; and
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   1             (i) any mediator or settlement officer, and their supporting personnel,
   2   mutually agreed on by any of the Parties engaged in settlement discussions or
   3   appointed by the Court.
   4   8.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
   5   IN OTHER LITIGATION
   6         If a Party is served with a subpoena or a court order issued in other litigation
   7   that compels disclosure of any information or items designated in this Action as
   8   “CONFIDENTIAL,” that Party must
   9             (a) promptly notify in writing the Designating Party. Such notification
  10   must include a copy of the subpoena or court order unless prohibited by law;
  11             (b) promptly notify in writing the party who caused the subpoena or order
  12   to issue in the other litigation that some or all of the material covered by the
  13   subpoena or order is subject to this Protective Order. Such notification must include
  14   a copy of this Order; and
  15             (c) cooperate with respect to all reasonable procedures sought to be
  16   pursued by the Designating Party whose Protected Material may be affected.
  17         If the Designating Party timely seeks a protective order, the Party served with
  18   the subpoena or court order should not produce any information designated in this
  19   action as “CONFIDENTIAL” before a determination on the protective-order request
  20   by the relevant court unless the Party has obtained the Designating Party’s
  21   permission. The Designating Party bears the burden and expense of seeking
  22   protection of its Confidential Material, and nothing in these provisions should be
  23   construed as authorizing or encouraging a Receiving Party in this Action to disobey
  24   a lawful directive from another court.
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   1   9.    A NONPARTY’S PROTECTED MATERIAL SOUGHT TO BE
   2   PRODUCED IN THIS LITIGATION
   3             (a) The terms of this Order are applicable to information produced by a
   4   Nonparty in this Action and designated as “CONFIDENTIAL.” Such information is
   5   protected by the remedies and relief provided by this Order. Nothing in these
   6   provisions should be construed as prohibiting a Nonparty from seeking additional
   7   protections.
   8             (b) In the event that a Party is required by a valid discovery request to
   9   produce a Nonparty’s Confidential Information in its possession and the Party is
  10   subject to an agreement with the Nonparty not to produce the Nonparty’s
  11   Confidential Information, then the Party must
  12                  (1) promptly notify in writing the Requesting Party and the Nonparty
  13   that some or all of the information requested is subject to a confidentiality
  14   agreement with a Nonparty;
  15                  (2) promptly provide the Nonparty with a copy of this Order, the
  16   relevant discovery request(s), and a reasonably specific description of the
  17   information requested; and
  18                  (3) make the information requested available for inspection by the
  19   Nonparty, if requested.
  20             (c) If the Nonparty fails to seek a protective order within 21 days of
  21   receiving the notice and accompanying information, the Receiving Party may
  22   produce the Nonparty’s Confidential Information responsive to the discovery
  23   request. If the Nonparty timely seeks a protective order, the Receiving Party must
  24   not produce any information in its possession or control that is subject to the
  25   confidentiality agreement with the Nonparty before a ruling on the protective-order
  26   request. Absent a court order to the contrary, the Nonparty must bear the burden
  27   and expense of seeking protection of its Protected Material.
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   1   10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
   2         If a Receiving Party learns that by inadvertence or otherwise, it has disclosed
   3   Protected Material to any person or in any circumstance not authorized under this
   4   Order, the Receiving Party must immediately notify the Designating Party in writing
   5   of the unauthorized disclosures, use its best efforts to retrieve all unauthorized
   6   copies of the Protected Material, inform the person or people to whom unauthorized
   7   disclosures were made of the terms of this Order, and ask that person or people to
   8   execute the “Acknowledgment and Agreement to Be Bound” that is attached hereto
   9   as Exhibit A.
  10   11.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
  11   PROTECTED MATERIAL
  12         When a Producing Party gives notice to Receiving Parties that certain
  13   inadvertently produced material is subject to a claim of privilege or other protection,
  14   the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
  15   Procedure 26(b)(5)(B).
  16   12.   MISCELLANEOUS
  17         12.1 Nothing in this Order abridges the right of any person to seek its
  18   modification by the Court.
  19         12.2 By stipulating to the entry of this Order, no Party waives any right it
  20   otherwise would have to object to disclosing or producing any information or item
  21   on any ground not addressed in this Order. Similarly, no Party waives any right to
  22   object on any ground to use in evidence of any of the material covered by this
  23   Order.
  24         12.3 A Party that seeks to file under seal any Protected Material must
  25   comply with Civil Local Rule 79-5. Protected Material may be filed under seal only
  26   pursuant to a court order authorizing the sealing of the specific Protected Material at
  27   issue. If a Party's request to file Protected Material under seal is denied, then the
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   1   Receiving Party may file the information in the public record unless otherwise
   2   instructed by the Court.
   3   13.   FINAL DISPOSITION
   4         After the final disposition of this Action, as defined in paragraph 4, within 60
   5   days of a written request by the Designating Party, each Receiving Party must return
   6   all Protected Material to the Producing Party or destroy such material. As used in
   7   this subdivision, “all Protected Material” includes all copies, abstracts, compilations,
   8   summaries, and any other format reproducing or capturing any of the Protected
   9   Material. Whether the Protected Material is returned or destroyed, the Receiving
  10   Party must submit a written certification to the Producing Party (and, if not the same
  11   person or entity, to the Designating Party) by the 60-day deadline that identifies (by
  12   category, when appropriate) all the Protected Material that was returned or
  13   destroyed and affirms that the Receiving Party has not retained any copies, abstracts,
  14   compilations, summaries, or any other format reproducing or capturing any of the
  15   Protected Material. Notwithstanding this provision, Counsel are entitled to retain an
  16   archival copy of all pleadings; motion papers; trial, deposition, and hearing
  17   transcripts; legal memoranda; correspondence; deposition and trial exhibits; expert
  18   reports; attorney work product; and consultant and expert work product even if such
  19   materials contain Protected Material. Any such archival copies that contain or
  20   constitute Protected Material remain subject to this Order as set forth in Section 4
  21   (DURATION).
  22   14.   SANCTIONS
  23         Any willful violation of this Order may be punished by civil or criminal
  24   contempt, financial or evidentiary sanctions, reference to disciplinary authorities, or
  25   other appropriate action at the discretion of the Court.
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   1   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
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   3   DATED: February 23, 2021              __/s/ Kevin D. Hughes_______________
                                             Attorneys for Plaintiff/Counter-Defendant
   4                                         HONG LIU
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   6

   7   DATED: February 23, 2021              __/s/ Lauren E. Grochow______________
                                             Attorneys for Defendants SMART KING
   8                                         LTD., JIAWEI WANG, and CHAOYING
                                             DENG and Defendant and
   9                                         Counterclaimant FARADAY&FUTURE
                                             INC.
  10

  11
       IT IS SO ORDERED.
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  13
       DATED: March 1, 2021                  ______________________________
  14                                         UNITED STATES MAGISTRATE
                                             JUDGE
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   1                                        EXHIBIT A
   2             ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
   3

   4         I, _____________________________ [full name], of _________________
   5   [full address], declare under penalty of perjury that I have read in its entirety and
   6   understand the Stipulated Protective Order that was issued by the U.S. District Court
   7   for the Central District of California on [date] in the case of Hong Liu v. Faraday &
   8   Future Inc., et al., C.D. Cal. Case No. 2:20-cv-08035-SVW-JPR. I agree to comply
   9   with and to be bound by all terms of this Stipulated Protective Order, and I
  10   understand and acknowledge that failure to so comply could expose me to sanctions
  11   and punishment, including contempt. I solemnly promise that I will not disclose in
  12   any manner any information or item that is subject to this Stipulated Protective
  13   Order to any person or entity except in strict compliance with the provisions of this
  14   Order.
  15         I further agree to submit to the jurisdiction of the U.S. District Court for the
  16   Central District of California for the purpose of enforcing the terms of this
  17   Stipulated Protective Order, even if such enforcement proceedings occur after
  18   termination of this action. I hereby appoint __________________________ [full
  19   name] of _______________________________________ [full address and
  20   telephone number] as my California agent for service of process in connection with
  21   this action or any proceedings related to enforcement of this Stipulated Protective
  22   Order.
  23   Date: ______________________________________
  24   City and State where signed: _________________________________
  25   Printed name: _______________________________
  26

  27   Signature: __________________________________
  28
                                                  16
